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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

KYLE ALEXANDER, et al.,                       )
                                              )
              Plaintiffs,                     )
                                              )
v.                                            ) Case No. 14-CV-2159-KHV-JPO
                                              )
BF LABS INC.,                                 )
                                              )
              Defendant.                      )

                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 1st day of April, 2015, Defendant BF Labs

Inc.’s Second Supplemental Answers and Objections to Plaintiff’s First Interrogatories were

served on the following by electronic mail:

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      Case 2:14-cv-02159-KHV Document 83-4 75Filed
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                                CERTIFICATE OF SERVICE

        I hereby certify that on April 1, 2015, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which sent notification of such filing to the following:

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